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 smny : --                                        i
                             UNlVgr) ^^-IcccWc •D.<.A-p'.cf                                                      V
                             ^    .      . .           , . V      r~                    ..           O*.    M
                             BsdrgrP P,rs-V^^c\-                                 Js^CXJ^-'^                 ^
       W)-S^ofe:                                               ro.5g                 <^\-cR-ooa5^-oo3(RfV)
-_^                                                            Vi-c^a£<x^W,. Ro>Ae\ ?a_^QVKc>^ ..
-.^oWrV Sh's-^                                ^                                                                   .

                      o<<\ ^ox- Kte6'\Vvc^vQNV oR. R.«='A^r•TV^c^)^                              SeA^-V-eK^cjg
                        ^"V—io—                                               ^Cgu*:<^e\\N^jT^                    '&9\^
    i- Werie\?<^ r-gc^u.gAV- a. y-\o3v^coA\qa.^
                       fU^TvAc/^v-V ^o U S.r ^S'Ra(c^(a'^
         (^v^>-vV 9^^\ •Vo.irW. UNVvAre.c^ ^-Vc^.Ve<.                                             ■ Adj
     \^\dek\f^^^ V;r<;V A>Ae^r)H.g^V A2.\
        OVN^. y>Q\ M.-V Xor—Ae^^iMAg>MgV<l Vjo'.A^ ^e'oeyvA Qt~ M o^e                                            </

—Cr;A'io-o^\                       po:/^<;                     p\\h;,\/^\^^ ''.V-^A-ws
—                              ^o(l, i^cVu                      Qv-                   rx^.^\/^ciK |/x:.<c4^>^c^
—              ^l5-VrAt^<;               ar<^ AAAcsJse                        4-WV- v^^er-e c^.pf^irgj
    vak^CR              UhA^Ve^ SbAtis                                 /g G                >x-^
      ,S..S.6r^ 4 A< L_4                \^ 4-Wt"                       A claatV (roKM.-VWl k^.S
-■6r_Wjr                                    u;>V>\e o^\ ^oW..'^c>m ,
                                                               i^o^\C reW.sc-^ ^ r.r escc pe
                  SeCowA^ AH»^iSH<^uaPjUV ^g\                                                        a
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_ilV>K'>s\a\ \\\*sVo^v^ ^o.^aVs^j u)\vq<p        A\A {At^-V- 'imj^loe^.
 59gc\V:c.                                ^cAoR^s, TV\c
 cxS Q^ AoveKAeg, \ ^                                 . QwrA6 ^cn.S CX./^
         c?r                      ^2q7H
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       \'~' X Q,yA,           .^n. Q.                      P^pr'tSc><^
               )Al|
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